                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

IN RE:
                                        )
JEREMY A. BRAY                          )           BANKRUPTCY CASE NO: 18-82940-CRJ
                                        )
                                DEBTOR. )          CHAPTER 12

 RESPONSE TO DEBTOR’S MOTION FOR AUTHORITY TO SELL ASSETS FREE AND
                          CLEAR OF LIENS

       Comes now the United States of America (“United States”) in behalf of the United States
Department of Agriculture, Farm Service Agency (“USDA”) by and through its counsel Jay E.
Town, United States Attorney for the Northern District of Alabama and files this Response to
Debtors’ Motion for Authority to Sell Assets Free and Clear of Liens and Encumbrances
(“Motion”). For its response, the United States asserts as follows:

       1.      The United States/USDA does not object to the allegations contained in
paragraphs one through twenty-three of the Motion.

       2.      The United States/USDA consents to the Terms of Sale which are stated in
paragraphs twenty-four and twenty-five of the Motion.

                                            JAY E. TOWN
                                            United States Attorney

                                            /s/Richard E. O’Neal
                                            RICHARD E. O'NEAL
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Case 18-82940-CRJ12         Doc 109 Filed 06/04/19 Entered 06/04/19 10:26:50              Desc
                              Main Document     Page 1 of 2
                              CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing has been served upon the following by
electronic mail on this the 4th day of June 2019.

Mr. Tazewell Taylor Shepard, IV
Sparkman, Shepard & Morris, P.C.
P.O. Box 19045
Huntsville, AL 35804

Ms. Michele Hatcher
Chapter 12 Trustee
P.O. Box 2388
Decatur, Alabama 35602

                                             /s/Richard E. O’Neal
                                             RICHARD E. O'NEAL
                                             Assistant United States Attorney




Case 18-82940-CRJ12          Doc 109 Filed 06/04/19 Entered 06/04/19 10:26:50                   Desc
                               Main Document     Page 2 of 2
